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                                   CERTIFICATE OF SERVICE

                  I hereby certify that on February 1, 2019, I electronically transmitted the attached

DECLARATION OF ANDREW GRAYOT IN SUPPORT OF DEFENDANT'S MOTION

TO COMPEL ARBITRATION AND STAY ACTION to the Clerk's office using the

CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the following

CM/ECF registrants:

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                  Dated: February 1, 2019.

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